                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MAINE


                                             )
     JEREMY PRATT,                           )
     ROBERT J. RUFFNER,                      )
     JACK TEBBETTS,                          )
     STEVEN BELLEAU, and                     )         Civil Action No.
     MATTHEW PERRY,                          )         1:20-cv-00295-JDL
     on their own behalf and                 )
     on behalf of all others                 )
     similarly situated,                     )
                                             )
           Plaintiffs,                       )
                                             )
     v.                                      )
                                             )
     SECURUS TECHNOLOGIES, INC.,             )

           Defendant.


       DEFENDANT SECURUS TECHNOLOGIES, LLC’S (f/k/a SECURUS
     TECHNOLOGIES, INC.) OPPOSITION TO PLAINTIFFS’ MOTION FOR
            LEAVE TO FILE SECOND AMENDED COMPLAINT

I.        INTRODUCTION

          County jails and other carceral facilities routinely monitor and record inmate

phone calls. To shield privileged discussions between inmates and their lawyers from

such surveillance, these institutions have established basic procedures long

characterized by the First Circuit as “lawful restrictions founded upon reasonable

prison-security measures.” Gilday v. Dubois, 124 F.3d 277, 294 (1st Cir. 1997). This

case concerns a group of inmates and their attorneys in Maine who failed to follow

these basic and longstanding procedures. Rather than assume responsibility for this




                                             1
oversight, they seek to shift blame onto Securus Technologies LLC, a private company

that contracts with a number of carceral facilities to provide telephone services.

      The Court previously dismissed Plaintiffs’ claims “[b]ecause the Complaint

does not plausibly allege that Securus’s ‘conscious objective’ was to record attorney-

client calls.” ECF No. 50 (Order) at 14. The Court explained that Plaintiffs needed to

allege that “Securus intentionally recorded attorney-client calls, not just that it

intentionally recorded phone calls made from jail phones.” Id. at 12. Stated another

way, Plaintiffs failed to allege that “Securus specifically intended to record attorney-

client phone calls,” and instead averred “simply that Securus intended to record

phone calls made from jail phones,” and some of the recorded calls happened to be

privileged. Id. at 10. Importantly, the Court also acknowledged that the Maine

Department of Corrections had promulgated a written policy that “sets forth the

procedures for a prisoner to designate ‘names and numbers to which the prisoner

wishes to make legal telephone calls.’” Id. at 2 (quoting ECF No. 26-1 at 5).

      Plaintiffs have now filed a Motion for Leave to Amend, proposing a Second

Amended Complaint that still fails to allege any conscious objective of Securus to

record privileged calls. Instead, Plaintiffs simply pepper their previous allegations

with more than ten new insertions of the words “intent,” “intentional,” or

“intentionally,” and a smattering of words like “aware” and “willfully blind.” Plaintiffs

tellingly do not plead any new facts to support these newly added labels and

conclusions. Indeed, one new factual allegation Plaintiffs make actually serves to

undermine them. In this regard, Plaintiffs now specifically plead that Securus



                                           2
“exempts certain calls from its program of intercepting, recording and distributing all

inmates’ calls,” and that it does this precisely so that inmates and their attorneys

may “avoid having their calls recorded.” ECF No. 51-1 (Proposed Second Amend.

Compl.) ¶ 20 (emphases added). 1

        Despite now admitting in its proposed amended pleading that they could have

exempted their own privileged calls from being recorded, Plaintiffs do not allege any

efforts they took to obtain the exemption. The proposed amended pleading also “does

not allege that Securus—rather than the jail officials—was under a duty, contractual

or otherwise, to provide inmates with information about how to protect their

privileged calls.” ECF No. 50 (Order) at 12-13. Likewise, the proposed amended

pleading “does not allege that Securus was sufficiently aware of any laxity in the jails’

procedures such that its continuing to record unprotected phone calls, without taking

affirmative steps to address the issue, establishes that it intended to record attorney-

client calls.” Id. at 13. 2 Because these observations about the First Amended




1Plaintiffs also admittedly contend that “Securus requires attorneys and inmates to jump through a
series of hoops” to obtain the referenced exemption, but they plead no facts to elaborate or otherwise
render this a plausible allegation, whether it is meant literally or not. ECF No. 51-1 (Proposed Second
Amend. Compl.) ¶ 20.
2 Plaintiffs allege that “Securus was aware that the system it operated in Maine would continue
intercepting, recording and distributing calls between inmates and their attorneys.” ECF No. 51-1
(Proposed Second Amend. Compl.) ¶ 5. Rather than provide any factual details to explain why this
would be so, Plaintiffs make this allegation “on information and belief” and fail to identify the
information on which their belief is based. Id. Plaintiffs vaguely allege that “many jails had not
successfully screened out confidential calls in the past and that the jails had little incentive to ensure
the appropriate calls were in fact screened.” Id. ¶ 4. Again, they do not detail any facts to support this
conclusory assertion. Indeed, it is not even clear from this averment whether the jails referenced by
Plaintiffs include any in Maine—let alone those at issue in this lawsuit—particularly as the paragraph
in which this allegation appears immediately follows one focused on lawsuits filed against Securus in
other jurisdictions. See id. ¶¶ 3 & 4.


                                                    3
Complaint prompted its dismissal, the proposed, additional amendments are

inadequate and futile.

      This Court should accordingly deny Plaintiffs’ Motion for Leave to Amend.

II.   BACKGROUND

      Plaintiffs commenced this action on August 13, 2020, filing a Complaint

alleging that Securus had violated the Federal and Maine Wiretap Acts by failing “to

screen out Attorney-Client privileged calls, and then illegally intercept[ing] these

calls and distribut[ing] them to jail administrators.” ECF No. 1 (Compl.) ¶ 15. On

October 15, 2020, Securus timely filed motions to dismiss and to strike the class

allegations. ECF Nos. 14 & 16. Plaintiffs elected not to defend their original pleading

and on November 5, 2020, filed a First Amended Complaint, once again asserting

claims under the Federal and Maine Wiretap Acts. ECF No. 18. Due to errors in their

submission, Plaintiffs refiled a corrected version of the pleading on the following day.

ECF Nos. 19, 20 & 21.

      On November 20, 2020, Securus again filed motions to dismiss and to strike

the class allegations. ECF Nos. 24 & 25. Among other things, Securus sought

dismissal because Plaintiffs did not plausibly plead a violation of the wiretap

statutes. The Court agreed, explaining that “‘[i]ntentional’ as used in the context of

[the Federal Wiretap Act] ‘means more than that one voluntarily engaged in conduct

or caused a result.’” Id. at 9 (quoting In re HIPAA Subpoena, 961 F.3d 59, 65 (1st Cir.

2020)). “Instead, the ‘conduct or the causing of the result must have been the person’s

conscious objective.’” Id. (quoting In re HIPAA Subpoena, 961 F.3d at 65). Based on



                                           4
this governing law, the Court concluded that “[b]ecause the Complaint does not

plausibly allege that Securus’s ‘conscious objective’ was to record attorney-client calls,

it fails to state a claim that Securus violated the Federal Wiretap Act or the Maine

Wiretap Act.” ECF No. 50 (Order) at 14 (citation omitted).

       Plaintiffs now seek to amend their operative pleading for a second time,

purporting to accomplish generally two things: “(i) removing Jeremy Pratt as a named

Plaintiff, and (ii) adding allegations concerning the extent of Defendant’s knowledge

of and intent to intercept, record, and distribute privileged communications between

inmates and their attorneys in violation of the Federal and Maine Wiretap Acts.” ECF

No. 51 (Motion) at 2. Although Securus does not object to Mr. Pratt’s voluntarily

withdrawal from this case, Securus opposes Plaintiffs’ proposed amendments because

they do not survive the standard announced by this Court. In short, the proposed

amendments are futile and the Court should now dismiss the case with prejudice.

III.   GOVERNING LEGAL STANDARD

       Although the Federal Rules of Civil Procedure encourage trial courts to “freely”

permit pleading amendments “when justice so requires,” Fed. R. Civ. P. 15(a)(2),

motions for leave to amend are not automatic. See Aponte-Torres v. Univ. of P.R., 445

F.3d 50, 58 (1st Cir. 2006) (holding that a court need “not . . . mindlessly grant every

request for leave to amend”). “In appropriate circumstances—undue delay, bad faith,

futility, and the absence of due diligence on the movant’s part are paradigmatic

examples—leave to amend may be denied.” Palmer v. Champion Mortg., 465 F.3d 24,

30 (1st Cir. 2006) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).



                                            5
      “In assessing futility, the district court must apply the standard which applies

to motions to dismiss under Fed. R. Civ. P. 12(b)(6).” Adorno v. Crowley Towing and

Transp. Co., 443 F.3d 122, 126 (1st Cir. 2006). Plaintiffs must accordingly plead a

plausible claim in their proposed amended pleading; mere “labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Plaintiffs also may not simply

advance a “legal conclusion couched as a factual allegation.” Papasan v. Allain, 478

U.S. 265, 286 (1986). Nor may Plaintiffs employ “information and belief” pleading to

advance otherwise speculative assertions about topics that a reasonable investigation

may uncover. Menard v. CSX Transp., Inc., 698 F.3d 40, 44 (1st Cir. 2012).

      Even if a legal theory appears cognizable and supported by detailed factual

allegations, if such “well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct,” they still fail to state a claim. Ashcroft v. Iqbal, 556

U.S. 662, 679 (2009). A claim is “plausible” and therefore cognizable only if it offers

more than the “possibility that a defendant has acted unlawfully” or is “‘merely

consistent with’ a defendant’s liability.” Id. at 678 (quoting Twombly, 550 U.S. at

557). “Factual allegations must be enough to raise a right to relief above the

speculative level, . . . on the assumption that all the allegations in the complaint are

true (even if doubtful in fact).” Twombly, 550 U.S. at 555 (citations omitted).

IV.   ARGUMENT

      Plaintiffs’ proposed Second Amended Complaint makes the same basic

allegations that rendered its First Amended Complaint deficient: Securus provided a



                                           6
platform to various jails that allowed inmates to use phones, and enabled the facilities

to monitor, record and distribute their calls, “including calls protected by the

attorney-client privilege.” ECF No. 51-1 (Proposed Second Amend. Compl.) ¶¶ 29, 30

& 31 (emphasis added). As the Court previously held, these allegations are

insufficient to plausibly aver that “Securus specifically intended to record attorney-

client phone calls.” ECF No. 50 (Order) at 10. They are especially insufficient in light

of Plaintiffs’ additional allegation that Securus “exempts certain calls from its

program of intercepting, recording and distributing all inmates’ calls,” precisely so

that inmates and their attorneys may “avoid having their calls recorded.” ECF No.

51-1 (Proposed Second Amend. Compl.) ¶ 20 (emphases added). In short, the proposed

new allegations fail to support a cognizable claim that Securus violated either the

Federal Wiretap Act, 18 U.S.C. § 2510 et seq., or the equivalent Maine statute, 15

M.R.S. § 709 et seq. See ECF No. 50 (Order) at 14.

      A.     The Proposed Second Amended Complaint Is Futile Pursuant
             To The Rationale Of This Court’s Prior Dismissal Order.

      Plaintiffs fail to plausibly allege facts supporting a conclusion that Securus had

the conscious objective necessary to transform their previously dismissed claims into

ones that can survive a motion to dismiss. Plaintiffs’ newly proposed pleading

liberally employs throughout its allegations the words “intent,” “intentional,”

“intentionally,” “aware,” and “willfully blind,” but these words amount to mere “labels

and conclusions” that “will not do” in asserting a cognizable claim. Twombly, 550 U.S.

at 555. Indeed, these few, new words are also “too meager, vague, or conclusory to




                                           7
remove the possibility of relief from the realm of mere conjecture.” Katz v. Pershing,

LLC, 672 F.3d 64, 73 (1st Cir. 2012).

           More importantly, Plaintiffs now specifically plead certain facts that

undermine their meager attempt to label certain conduct by Securus as intentional.

In this regard, Plaintiffs now expressly aver that Securus “exempts certain calls from

its program of intercepting, recording and distributing all inmates’ calls,” precisely

so that inmates and their attorneys may “avoid having their calls recorded.” ECF No.

51-1 (Proposed Second Amend. Compl.) ¶ 20 (emphases added). Although Plaintiffs

also admittedly allege (unspecified) difficulties with this system—alternately

characterizing them as “hoops” through which to jump and procedures “inadequately

explained” or “ineffective,” id. ¶¶ 20 & 21—Plaintiffs’ allegations about these

difficulties lack sufficient detail to support a plausible claim that Securus had a

conscious objective to foreclose the very exemptions it otherwise makes available. See,

e.g., Malgieri v. Ehrenberg, No. 12-CV-2517 (CS), 2012 U.S. Dist. LEXIS 181042, at

*16, 2012 WL 6647515, * 6 (S.D.N.Y. Dec. 21, 2012) (“[N]ot only does the FAC not

plead facts plausibly supporting that characterization, but it in fact says otherwise .

. . .”).

           In its dismissal order, the Court suggested that Plaintiffs might assert a viable

claim if they “allege that Securus was sufficiently aware of any laxity in the jails’

procedures such that its continuing to record unprotected phone calls, without taking

affirmative steps to address the issue, establishes that it intended to record attorney-

client calls.” ECF No. 50 (Order) at 13. Plaintiffs’ new pleading fails to do this.



                                               8
Instead, Plaintiffs simply suggest, “upon information and belief,” that “Securus was

aware that the system it operated in Maine would continue intercepting, recording

and distributing calls between inmates and their attorneys.” ECF No. 51-1 (Proposed

Second Amend. Compl.) ¶ 5. Because Plaintiffs identify no factual basis for this

allegation, it runs afoul of proper “information and belief” pleading, which conveys

factual allegations based on “secondhand information” that nevertheless should be

“set forth.” Menard, 698 F.3d at 44 & n.5. Simply reciting “information and belief” as

a mantra cannot serve as a license for “pure speculation” in the absence of undisclosed

facts. Id. at 44.

       Plaintiffs also fail to cure their deficient pleadings by now alleging that

Securus left in charge of the privilege screening process “many jails [that] had not

successfully screened out confidential calls in the past and . . . [with] little incentive

to ensure the appropriate calls were in fact screened.” ECF No. 51-1 (Proposed Second

Amend. Compl.) at ¶ 4. Once again, these allegations are bereft of plausibly pleaded

facts. Among other things, Plaintiffs plead no facts identifying the jails at issue in

this lawsuit among those that allegedly failed to screen out confidential calls or lack

an incentive to correct this purported problem. This omission is especially important

because the context of the allegation suggests that it may refer only to jails in other

jurisdictions. See id. ¶¶ 3-4. Regardless, Plaintiffs fail to plead an awareness by

Securus of any specific deficiency in the carceral facilities at issue, much less one so

egregious that its mere act of “continuing to record unprotected phone calls, without




                                            9
taking affirmative steps to address the issue, establishes that it intended to record

attorney-client calls.” ECF No. 50 (Order) at 13.

        Plaintiffs instead resort to contending that the “sheer number of recorded

attorney-client calls and lawsuits showing that Securus’ system has recorded

attorney-client privileged calls” suggests that something (unidentified) does not work

about “Securus’ procedures for exempting calls.” 3 ECF No. 51-1 (Proposed Second

Amend. Compl.) ¶ 21. But the Court has already observed that such matters do not

plausibly establish a conscious objective by Securus to specifically record privileged

calls. ECF No. 50 (Order) at 13 n.6. Perhaps in response, Plaintiffs now twice invoke

the phrase “willfully blind” to characterize the relationship of Securus to the vaguely

alleged failures of the exemption process. ECF No. 51-1 (Proposed Second Amend.

Compl.) ¶¶ 1 & 22.

        As the First Circuit has previously explained, the 1986 amendment to the

Federal Wiretap Act, which created the “conscious objective” standard applied by the

Court in its dismissal Order, was enacted “to change the state of mind requirement



3 Setting aside for the moment that the procedures for exemption are actually set by the Maine
Department of Corrections or the facilities with which Securus contracts, ECF No. 50 (Order) at 2,
Plaintiffs’ references to cases against Securus in other jurisdictions, see ECF No. 51-1 (Proposed
Second Amend. Compl.) ¶¶ 3, 21, are “immaterial.” In re Countrywide Fin. Corp. Mortg.-Backed Sec.
Litig., 934 F. Supp. 2d 1219, 1226 (C.D. Cal. 2013) (striking similar allegations for this reason) (quoting
RSM Prod. Corp. v. Fridman, 643 F. Supp. 2d 382, 403 (S.D.N.Y. 2009)); see also Hicks v. Alarm.com
Inc., 2020 U.S. Dist. LEXIS 157433, at *14 [2020 WL 9261758](E.D. Va. Aug. 6, 2020) (dismissing
case). These cases failed to address or settled before addressing any claims under the Federal or Maine
Wiretap Acts, and none applied the conscious objective standard. See Austin Lawyers Guild v. Securus
Techs., Inc., No. 1:14-cv-366(LY), 2015 WL 11237655 (W.D. Tex. Mar. 23, 2015)(dismissing case);
Romeo v. Securus Techs., Inc., No. 16-cv-01283 (S.D. Cal.)[ECF No. 184](settlement); Johnson v.
CoreCivic, No. 4:16-cv-947-SRB, (W.D. Mo.) [ECF No. 275] (settlement); Huff v. Corecivic, Inc., No.
2:17-cv-2320-JAR-JPO (D. Kan.) [ECF No. 177] (settlement).



                                                    10
from ‘willful’ to ‘intentional’.” In re Pharmatrak, Inc., 329 F.3d 9, 23 (1st Cir. 2003).

The Supreme Court has elaborated that this change “increased the scienter

requirement” from willful to intentional “to ensure that only the most culpable could

face liability.” Bartnicki v. Vopper, 532 U.S. 514, 547 n.4 (2001). Even prior to this

change, it had long been the law that “an act may be ‘willful’ if the offender shows

‘indifference’ to the rules; he need not be consciously aware that the conduct is

forbidden at the time he performs it, but his state of mind must be such that, if he

were informed of the rule, he would not care.” Brock v. Morello Bros. Constr., Inc.,

809 F.2d 161, 164 (1st Cir. 1987). Willful blindness thus falls short of the conscious

objective required by the Federal and Maine Wiretap Acts. As this Court recognized

in its dismissal order, “[N]either negligence nor gross negligence satisfies the intent

element required to find a [Federal Wiretap Act] violation.” ECF No. 50 (Order) at 9

(quoting In re HIPAA Subpoena, 961 F.3d at 66).

        B.      The Proposed Second Amended Complaint Is Futile Because
                The Identified Communications Are Subject To Other
                Exemptions Under The Federal and Maine Wiretap Acts. 4

        The Federal Wiretap Act provides an exception to liability for equipment being

used by “an investigative or law enforcement officer in the ordinary course of his

duties.” 5 18 U.S.C. § 2510(5)(a)(ii). The “routine and almost universal recording of


4 Although Securus presented the following arguments to the Court in its motion to dismiss the First

Amended Complaint, the Court did not address them because it concluded that the then-operative
complaint failed to plausibly allege that Securus intentionally intercepted attorney-client phone calls,
ECF No. 50 (Order) at 14 n.7. In their proposed amendments, Plaintiffs made no effort to cure the
pleading defects previously identified by Securus and they accordingly leave the proposed Second
Amended Complaint vulnerable to dismissal.
5To establish liability under Title III of the Electronic Communications Privacy Act of 1986 (“ECPA”),
which included amendments to the Wiretap Act, the interception that would trigger liability must
have been “through the use of any electronic, mechanical, or other device.” 18 U.S.C. §§ 2510(4),

                                                  11
phone lines by police departments and prisons, as well as other law enforcement

institutions, is exempt from the statute” for precisely this reason, as numerous courts

have recognized. Adams v. City of Battle Creek, 250 F.3d 980, 984 (6th Cir. 2001); see

also United States v. Lewis, 406 F.3d 11, 18 (1st Cir. 2005) (collecting cases and

“join[ing] our sister circuits”).

       The Federal Wiretap Act specifically recognizes that an “interception under

this chapter may be conducted in whole or in part by Government personnel, or by an

individual operating under a contract with the Government, acting under the

supervision of an investigative or law enforcement officer authorized to conduct the

interception.” 18 U.S.C. § 2518(5) (emphasis added). Courts thus routinely extend the

law enforcement exception to protect private contractors as long as they acted

“exclusively under the direction of . . . prison officials . . . did not listen to or monitor

the calls; [and did not] have any discretion concerning which calls to record.” United

States v. Rivera, 292 F. Supp. 2d 838, 843 (E.D. Va. 2003); see also, e.g., Randolph v.

Nev. ex rel. Nev. Dep’t of Corr., No. 3:13-cv-148-RCJ-WGC, at *8-9, 2013 WL 5818894

(D. Nev. Oct. 29, 2013) (granting prison telephone contractor’s motion to dismiss with

prejudice despite recording attorney-client privileged calls because of the law

enforcement exception).

       Plaintiffs plead facts that support the exception’s application to Securus.

Specifically, they aver that Securus operated “under contract with county jails in



2511(1). Law enforcement officers operating in the ordinary course of their duties are not deemed to
be using a “device” for purposes of the ECPA. Id.



                                                12
Maine,” and allege no facts to suggest that Securus was anything more than an

instrumentality of county officials. ECF No. 51-1 (Proposed Second Amend. Compl.)

¶ 1. Even if the Court accepts Plaintiffs’ conclusory allegations of intent, their failure

to allege that Securus listened to the calls, enjoyed discretion to choose which calls to

record, or singled out any inmate calls for recording serves to trigger the exception.

Indeed, the Plaintiffs aver that Securus’ role was to “intercept[], record[] and

distribut[e] all inmates’ calls.” Id. ¶ 20 (emphasis added). Under such an allegation,

Securus’ conduct is plainly reveled as part of a practice to “routinely monitor inmates’

conversations” in the ordinary course of a law enforcement officer’s duties, thereby

exempting it from the Federal Wiretap Act. Lewis, 406 F.3d at 18 (citation omitted).

      In step with its federal counterpart, the Maine Wiretap Act excludes from

liability monitoring conducted by “a jail investigative officer or a jail employee acting

at the direction of a jail investigative officer, carrying out practices otherwise

permitted by this chapter.” 15 M.R.S. § 710(5). The definition of “jail investigative

officer” under the Maine statute includes “an employee of a jail” with “the authority

to conduct investigations of crimes relating to the security or orderly management of

the jail.” 15 M.R.S. § 709(4-B). Just as federal courts have interpreted the Wiretap

Act, so too should this Court interpret its Maine counterpart to permit a government

contractor such as Securus to qualify for the jail investigative officer exception. See

Thayer Corp. v. Reed, No. 2:10-cv-00423-JAW, 2011 U.S. Dist. LEXIS 74229, at *13,

2011 WL 2682723 (D. Me. Jul. 11, 2011) (looking to federal law to properly construct




                                           13
Maine’s state counterpart). Regardless, pleaded inadvertence of any privilege

violation cannot support liability under the Maine statute. See id.

      The jail call recordings about which Plaintiffs complain do not qualify for

protection under the Maine Wiretap Act, in any event, because they are not

“intercept[ed] . . . wire or oral communication[s]” for purposes of the Act. 15 M.R.S.

§ 710(1). “An ‘[i]ntercepting device’ means ‘any device or apparatus which can be used

to intercept a wire or oral communication’ other than (A) a telephone or telegraph

instrument, equipment or facility or component thereof used by a communication

common carrier in the ordinary course of its business . . . . 15 M.R.S. § 709(3).” Griffin

v. Griffin, 2014 ME 70, ¶19 n.4, 92 A.3d 1144(emphases added); see also 15 M.R.S. §

709(1) (defining “[c]ommunication common carrier” as “any telephone or telegraph

company”). Because Plaintiffs do not allege that Securus did anything outside the

ordinary scope of its business pursuant to contract when it recorded the jail calls at

issue, see ECF No. 51-1 (Proposed Second Amend. Compl.) ¶¶ 1, 20, their Maine

Wiretap Act claim necessarily fails.

      C.     Because The Proposed Second Amended Complaint Is Futile,
             This Court Should Deny Plaintiffs’ Motion For Leave To Amend
             And Dismiss The Case Against Securus With Prejudice.

      “Where an amendment would be futile or would serve no legitimate purpose,

the district court should not needlessly prolong matters.” Correa-Martinez v.

Arrillaga-Belendez, 903 F.2d 49, 59 (1st Cir. 1990). Because Plaintiffs have failed to

allege facts that plausibly support a conclusion that Securus acted with the conscious

objective of recording privileged calls, and independently falls within exceptions to

the wiretap statutes, their proposed Second Amended Complaint should not proceed.

                                           14
See, e.g., In re Pharmatrak, Inc. Privacy Litig., 329 F.3d at 23; see also, e.g., Evans v.

Skolnik, No. 3:08-cv-00353-RCJ-VPC, 2009 U.S. Dist. LEXIS 104430, at *13-16 2009

WL 3763041, *5-6 (D. Nev. Nov. 5, 2009) (dismissing Federal Wiretap Act claim

premised on conclusory allegations that defendants “intentionally” intercepted his

attorney-client telephone calls), aff’d 637 F. App’x 285, 287 (9th Cir. 2015); Butera &

Andrews v. IBM Corp., 456 F. Supp. 2d 104 (D.D.C. 2006) (dismissing case lacking

allegations that defendant’s interception of plaintiff’s electronic communications was

intentional); cf. Greenfield v. Kootenai County, 752 F.2d 1387 (9th Cir. 1985) (holding

routine recordings of incoming calls was not a violation of federal wiretap laws).

V.    CONCLUSION

      For all the foregoing reasons, Securus respectfully requests that the Court

deny Plaintiffs’ motion for leave to file their proposed Second Amended Complaint,

and dismiss the case against Securus with prejudice.

Dated: June 1, 2021                      Respectfully submitted,


                                         /s/ Jason J. Theobald
                                         Richard Olson
                                         Jason J. Theobald
                                         CURTIS THAXTER LLC
                                         One Canal Plaza, Suite 1000
                                         P.O. Box 7320
                                         Portland, Maine 04112-7320
                                         Tel: 207-774-9000
                                         Email: rolson@curtisthaxter.com
                                                jtheobald@curtisthaxter.com




                                           15
Admitted Pro Hac Vice:
Adam R. Fox (CABN 220584)
Gabriel Colwell (CABN 216783)
Marisol C. Mork (CABN 265170)
Squire Patton Boggs (US) LLP
555 South Flower Street, 31st Floor
Los Angeles, California 90071
Telephone: (213) 624-2500
Email: adam.fox@squirepb.com
      gabriel.colwell@squirepb.com
      marisol.mork@squirepb.com

Counsel for Defendant
Securus Technologies, LLC f/k/a Securus
Technologies, Inc.




  16
                           CERTIFICATE OF SERVICE


      I hereby certify that on June 1, 2021, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will cause an

electronic notice to be sent to all registered counsel of record.



Dated: June 1, 2021                      /s/ Jason J. Theobald
                                         Counsel for Defendant
                                         Securus Technologies, LLC,
                                         f/k/a Securus Technologies, Inc.




                                           17
